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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION



     JOHN AND JANE DOE NO. 1,                    :        CASE NO. 3:22-cv-00337
     et al.,                                     :
                                                 :
                     Plaintiffs,                 :        JUDGE MICHAEL J. NEWMAN
                                                 :
     vs.                                         :
                                                 :
                                                 :
     BETHEL LOCAL SCHOOL
                                                 :
     DISTRICT BOARD OF
                                                 :
     EDUCATION, et al.,
                                                 :
                                                 :
                     Defendants.


                    SECOND DECLARATION OF JESSICA FRANZ

           I, Jessica Franz, declare:

            1.      My name is Jessica Franz. I am over the age of 21 and fully

    competent to make this declaration.

            2.      I have personal knowledge of all of the facts stated in this

    declaration.

            3.      I provided the prior Declaration dated January 23, 2023 (Doc. 37-

    3).

            4.      I have read the memorandum in support of the motion in limine

    filed by the Bethel Local School District Board of Education (the “Board”) in

    the above captioned matter on February 7, 2023 (the “Memorandum”) (Doc.

    48).




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         13.     At no point during our discussions did I divulge any attorney

    client privileged communications to Plaintiffs’ counsel.

         14.     At no point during our discussions did Plaintiffs’ counsel ask me

    to divulge any attorney client privileged communications to Plaintiffs’ counsel.

         15.     To the best of my recollection, I also believe that Plaintiffs’

    counsel instructed me not to share attorney client privileged information.

         16.     My discussion with Plaintiffs’ counsel regarding the December 7,

    2021 executive session was focused on the facts of what I observed during the

    meeting.

         17.     With respect to the advice of the Board’s counsel contained in

    Paragraph 12 of my Declaration (Doc. 37-3), it is public knowledge in the

    Bethel community that the Board’s counsel advised the school that it had to

    allow restroom use in accordance with gender identity.

         18.     The Board openly promoted this advice as the reason for the

    decision.

         19.     Prior to my discussions with Plaintiffs’ counsel, I had spoken with

    multiple attorneys regarding the Board’s actions and timeline of events.

         20.     I had read the Open Meetings Act and the Ohio Sunshine Manual

    and believed that the December 7, 2021 executive session was not a proper

    executive session under the statute. I contacted an attorney who is a subject

    matter expert on school board and sunshine law issues, and the attorney

    confirmed that my understanding was correct.




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     attorney of my choice prior t.o e. e<: utw.g this declaration.



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     Date        1




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